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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

 THE NIELSEN COMPANY (US), LLC,              )
                                             )
               Plaintiff,                    )     C.A. No. 22-057-CJB
                                             )
        v.                                   )
                                             )
 TVISION INSIGHTS, INC.,                     )
                                             )
               Defendant.                    )
                                             )     Redacted - Public Version


     LETTER TO THE HONORABLE CHRISTOPHER J. BURKE FROM ANDREW E.
     RUSSELL REGARDING TVISION INSIGHTS, INC. MOTION TO SUPPLEMENT

                                                 John W. Shaw (No. 3362)
                                                 Andrew E. Russell (No. 5382)
                                                 Nathan R. Hoeschen (No. 6232)
  OF COUNSEL:                                    SHAW KELLER LLP
  Jason Xu                                       I.M. Pei Building
  RIMÔN LAW P.C.                                 1105 North Market Street, 12th Floor
  1990 K. Street, NW, Suite 420                  Wilmington, DE 19801
  Washington, DC 20006                           (302) 298-0700
  (202) 470-2141                                 jshaw@shawkeller.com
                                                 arussell@shawkeller.com
  Eric C. Cohen                                  nhoeschen@shawkeller.com
  RIMÔN LAW P.C.                                 Attorneys for Defendant
  P.O. Box B113
  150 Fayetteville St, Suite 2800
  Raleigh, NC 27601-2960
  (984) 960-2860

  Michael F. Heafey
  RIMÔN LAW P.C.
  800 Oak Grove Avenue, Suite 250
  Menlo Park, CA 94025
  (650) 461-4433

  Dated: February 2, 2024




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 Dear Judge Burke,

 Defendant TVision Insights, Inc. (“TVision”) moves to for leave to serve a supplemental expert
 report regarding source code produced by ACRCloud Ltd. (“ACRCloud”) in The Nielsen
 Company (US), LLC v. ACRCloud, Ltd., 22-1344 (D. Del.) (the “ACRCloud case”). TVision’s
 devices use ACRCloud software, which is the basis for Nielsen’s infringement contentions.

 As background, in the Complaint in the ACRCloud case, Nielsen asserted infringement of U.S.
 Pat. No. 7,783,889 (the “‘889 patent) (Ex. 1)—the same ’889 patent that is at issue in this case.
 See ACRCloud case, D.I. 1. Nielsen withdrew the ’889 patent claim from the ACRCloud case
 “to moot[] the question regarding the motion for a stay” of this case based on the customer suit
 exception. (Id., D.I. 13, Ex. 6 at 1). On August 21, 2023, the parties agreed in this case, at the
 request of Nielsen’s counsel, that the ACRCloud source code would not be used in this case.
 Ex. 7 at 1. Expert discovery closes on February 7, 2024 D.I. 128. The parties have not
 scheduled any depositions of the technical experts.

 I. SUMMARY OF FACTS AND RELEVANT PROCEDURAL HISTORY

 In this case, Nielsen based its initial September 2022 infringement contentions on Nielsen’s
 analysis of the ’889 patent “based on decompiling and evaluating the . . . ACRCloud binary
 that executes the ACRCloud fingerprint algorithm . . . .” Ex. 2 at 5. The “ACRCloud binary”
 is the ACRCloud software TVision’s devices use.

 Both parties’ experts relied on decompiled code (“pseudocode”). The experts reached opposite
 conclusions regarding infringement, in part due to using different versions of the decompiling
 tool. The experts disagree as to whether the decompiling tool was properly used and whether
 they understand how to use it. Compare Ex. 4, ¶ 51 (stating that TVision’s expert used a
 different version of the decompiling software than Nielsen’s expert) with Ex. 5 ¶ 17 (arguing
 that TVision’s expert “fails to understand how to use” the decompiling software). TVision is
 a customer of ACRCloud, does not have the right to require ACRCloud to permit use of
 ACRCloud source code in this case. Ex. 3, Liu Decl. ¶¶ 3-5. After reviewing Nielsen’s initial
 infringement contentions, TVision believed that the decompiled code was sufficient to prove
 non-infringement. Nielsen filed the ACRCloud case on October 12, 2022. Counsel for Nielsen
 inspected the ACRCloud source code in the ACRCloud case on September 5-8, 2023.

 When the technical experts submitted their reports in this case, the ACRCloud source code was
 not available for them to review. ACRCloud consented to the use of the relevant ACRCloud
 source code in this case within the last three weeks. Because of the experts’ dispute over the
 use and understanding of the decompiler tool, it is in the interest of justice to permit the parties
 to use actual ACRCloud source code to determine infringement. Using actual source code will
 reduce uncertainty and eliminate extraneous jury issues involving how the experts decompiled
 and interpreted the executable code. Only a relatively small amount of source code needs to be
 reviewed by the experts to resolve the dispute in this case. There is enough time in the present
 schedule for the experts to provide supplemental reports based on the actual ACRCloud code.

 II. THIS COURT SHOULD PERMIT SUPPLEMENTAL REPORTS REGARDING
     THE ACRCLOUD SOURCE CODE

 All of the asserted claims of the ’889 patent at issue in this case recite the following limitation:
 “determin[e][ing] a first descriptor of the first frame of media samples based on a comparison
 of the first spectral power and the second spectral power.” Ex. 1, ’889 patent (asserted claims).

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 The opening expert report of Dr. Tanksale, Nielsen’s software expert, states that he used a tool
 to create pseudocode from downloaded ACRCloud software. Ex. 8, ¶¶ 23-24, 28, 30 (referring
 to decompiled code as “pseudo-code”). Using Dr. Tanksale’s report, Nielsen’s expert on
 infringement, Dr. Moulin, concludes that the ACRCloud pseudo-code performs the above-
 referenced limitation. Ex. 9, ¶ 174. TVision’s expert, Dr. Anderson, used “a more recent version
 of the [relevant] decompiler” that Dr. Tanksale used and concluded that the claim limitation is
 not performed by ACRCloud software. Ex. 4 ¶ 63. See also, Ex. 4 ¶¶ 61-65. Dr. Tanksale
 claims that TVision’s expert Dr. Anderson “fails to understand how to use the IDA Pro
 software” used to decompile the ACRCloud code. Nielsen’s expert also states that TVision’s
 expert “does not appear to understand the differences between decompiled pseudocode and
 source code.” Thus, the jury must resolve the experts’ disagreements over the use of the
 decompiler tool and interpretation pseudocode produced by the decompiler tool. This issue
 would not need to be resolved by the jury if experts were to base their opinion on the relevant
 ACRCloud source code that has been produced in the ACRCloud case.

 III. TVISION HAS BEEN DILIGENT AND NIELSEN WOULD NOT BE
     PREJUDICED BY USING ACTUAL ACRCLOUD SOURCE CODE

 Within the last three weeks, ACRCloud agreed to permit the use in this case of the relevant
 actual source code it produced in the ACRCloud case. TVision filed this motion within three
 weeks of ACRCloud’s agreement to permit its relevant source code to be used in this case and
 after TVision’s counsel met and conferred with Nielsen’s counsel. Nielsen would not be
 prejudiced if this Court were to permit the use of the actual relevant ACRCloud source code in
 this case. First, ACRCloud produced the code to Nielsen in early September 2023 in the
 ACRCloud case. Second, the number of lines of code that the experts would need to review are
 relatively small. The expert reports rely only on about 1,100 lines of decompiled code. Thus,
 reviewing the actual source code and issuing a supplemental report should not take more than
 an additional 10 hours of the expert’s time, given their familiarity with the pseudocode and the
 issues in this case.

 Nielsen has indicated that it would oppose this motion because of the parties’ prior agreement.
 See Ex. 10. However, at the time TVision and Nielsen entered that agreement, Nielsen had not
 yet reviewed the actual ACRCloud source code. Nor did the parties anticipate the
 disagreements among the experts about the use and interpretation of the results of using the
 decompiler tool. There is sufficient time in the scheduling order to adjust some due dates to
 permit the experts to review the relevant ACRCloud source code, modify their opinions, if
 necessary, and adjust the briefing schedules for dispositive and Daubert motions without
 affecting the October trial date.

 IV. CONCLUSION

 For the reasons set forth above, TVision respectfully requests that the Court (1) permit TVision
 to serve a supplemental expert report regarding the relevant portions of the ACRCloud source
 code within 14 days of the date of the order; (2) permit Nielsen to serve a responsive report
 within 14 days of the supplemental report; and (3) direct the parties to meet-and-confer
 regarding any necessary schedule adjustments and to submit a stipulation amending the
 scheduling order within 14 days.




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                                        Respectfully submitted,

                                        /s/ Andrew E. Russell

                                        Andrew E. Russell (No. 5382)

 cc:   Clerk of Court (by CM/ECF & Hand Delivery)
       All Counsel of Record (by CM/ECF & Email)




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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

THE NIELSEN COMPANY (US), LLC,                     )
                                                   )
               Plaintiff,                          )
                                                   )
       v.                                          )     C.A. No. 22-057-CJB
                                                   )
TVISION INSIGHTS, INC.,                            )
                                                   )
               Defendant.                          )

                                    [PROPOSED] ORDER

       Having considered the motion of TVision Insights, Inc. for leave to serve a supplemental

expert report regarding source code produced by ACRCloud Ltd., IT IS HEREBY ORDERED,

this _______ day of ___________, 2024, that:

   (1) The Motion is GRANTED;

   (2) TVision may serve its supplemental report, limited to discussion of ACRCloud’s source

       code, within 14 days of the date of this order;

   (3) Nielsen may likewise serve a responsive supplemental expert report, limited to discussion

       of ACRCloud’s source code, within 14 days of TVision’s supplemental report;

   (4) The parties shall meet-and-confer regarding any necessary adjustment of case deadlines,

       and shall file a stipulation amending the scheduling order within 14 days from the date of

       this order.

                                             _______________________________________
                                             UNITED STATES MAGISTRATE JUDGE
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                         Exhibit 1
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                                                                                             USOO7783889B2


 (12) United States Patent                                                   (10) Patent No.:     US 7,783,889 B2
        Srinivasan                                                           (45) Date of Patent:     Aug. 24, 2010

 (54)   METHODS AND APPARATUS FOR                                      (56)                      References Cited
        GENERATING SIGNATURES                                                           U.S. PATENT DOCUMENTS
 (75) Inventor: Venugopal Srinivasan, Palm Harbor, FL                         4,230,990 A        10/1980 Lert, Jr. et al.
                (US)                                                                                (Continued)
                                                                                     FOREIGN PATENT DOCUMENTS
 (73) Assignee: The Nielsen Company (US), LLC,                         AU                   718227          11, 1997
                Schaumburg, IL (US)
                                                                                                    (Continued)
 (*) Notice:        Subject to any disclaimer, the term of this                          OTHER PUBLICATIONS
                    patent is extended or adjusted under 35            United States Patent and Trademark Office, 'PCT International
                    U.S.C. 154(b) by 199 days.                         Search Report” issued by the International Searching Authority of
                                                                       the United States Patent and Trademark Office on Feb. 6, 2008, in
 (21) Appl. No.: 11/676,452                                            connection with a counterpart international application No. PCT/
                                                                       US2005/029623 (3 pages).
 (22) Filed:         Feb. 19, 2007                                                         (Continued)
 (65)                   Prior Publication Data                         Primary Examiner Nasser Moazzami
                                                                       Assistant Examiner Shanto M Abedin
        US 2007/0274537 A1           Nov. 29, 2007                     (74) Attorney, Agent, or Firm Hanley, Flight and
                                                                       Zimmerman, LLC
             Related U.S. Application Data
                                                                       (57)                        ABSTRACT
 (63) Continuation of application No. PCT/US2005/
      029623, filed on Aug. 18, 2005.                                  Methods, apparatus, and articles of manufacture for media
                                                                       monitoring are disclosed. In particular, the example methods,
 (60) Provisional application No. 60/603,024, filed on Aug.            apparatus, and articles of manufacture generate digital spec
        18, 2004.                                                      tral signatures for use in identifying media information. Ini
                                                                       tially, a frame of media samples is obtained. A first frequency
 (51)   Int. C.
                                                                       component having a first spectral power and a second fre
        H04L 9/00              (2006.01)                               quency component having a second spectral power are iden
 (52) U.S. Cl. ......................... 713/179; 713/176; 725/19,     tified by performing a spectral transform operation on the
                          725/20: 380/202:380/239; 381/94.3            frame of media samples. A descriptor of the first frame of
 (58)   Field of Classification Search ................. 713/160,      media samples is determined based on a comparison of the
                   713/176, 179; 380/202, 206, 207, 239, 253,          first spectral power and the second spectral power. A first
                  380/229; 382/100, 232, 240, 191: 381/94.3:           signature is then generated based on the descriptor.
                          375/134; 704/268,273; 725/19, 20
        See application file for complete search history.                              17 Claims, 12 Drawing Sheets



                                        903
                                                  900
                                                        y        W
                                                                              902
                                              TIMING DEWICE
                                        904                        SAMPLE
                                              rFRENCE TIM        GENERATOR
                                               GENERATOR

                                                                                                  908

                                                  DATA
                                              COMMUNICATION
                                                INTERFACE
                                                                 SLIDING FFT - FRECUENCY
                                                                     DULE            DNTFER




                                                                                     SPECTRAL
                                                                                    POWERWALUE
                                                                                      DNTFER


                                         918

                                                                DESCRIPTOR
                                              CONCATENATOR                          COMPARATOR
                                                                GENERATOR




                                                                                                            Ex. 1 page 1 of 28
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                                                       US 7,783,889 B2
                               25                                                                   26
 with an unidentified audio stream (e.g., the example moni            covers all methods, apparatus, and articles of manufacture
 tored audio stream 202 of FIG. 2). For example, the media            fairly falling within the scope of the appended claims either
 identification look-up table interface 1112 may be communi           literally or under the doctrine of equivalents.
 catively coupled to a media identification look-up table or a           What is claimed is:
 database that is used to cross-reference media identification 5        1. A method for generating signatures implemented using
 information (e.g., movie title, show title, Song title, artist      an apparatus comprising a processor, the method comprising:
 name, episode number, etc.) based on reference signatures. In         obtaining a first frame of media samples;
 this manner, the media identifier 1110 may retrieve media             identifying a first frequency component having a first spec
 identification information from the media identification data             tral power and a second frequency component having a
 base based on the matching reference signatures.                 10       second spectral power by performing a spectral trans
    FIG. 12 is a block diagram of an example processor system              form operation on the first frame of media samples;
 1210 that may be used to implement the apparatus and meth             determining a first descriptor of the first frame of media
 ods described herein. As shown in FIG. 12, the processor                  samples based on a comparison of the first spectral
 system 1210 includes a processor 1212 that is coupled to an               power and the second spectral power;
 interconnection bus or network 1214. The processor 1212 15 generating a first signature based on the first descriptor,
 includes a register set or register space 1216, which is              identifying a second frame of media samples by extracting
 depicted in FIG. 12 as being entirely on-chip, but which could            a common plurality of media samples from the first
 alternatively be located entirely or partially off-chip and               frame of media samples and appending another plurality
 directly coupled to the processor 1212 via dedicated electrical           of media samples to the common plurality of media
 connections and/or via the interconnection network or bus                 samples;
 1214. The processor 1212 may be any suitable processor,               identifying a third spectral power associated with a third
 processing unit or microprocessor. Although not shown in                  frequency component and a fourth spectral power asso
 FIG. 12, the system 1210 may be a multi-processor system                  ciated with a fourth frequency component, wherein the
 and, thus, may include one or more additional processors that             third frequency component and the fourth frequency
 are identical or similar to the processor 1212 and that are 25            component are associated with performing the spectral
 communicatively coupled to the interconnection bus or net                 transform operation on the second frame of media
 work 1214.                                                                samples;
    The processor 1212 of FIG. 12 is coupled to a chipset 1218,        determining a second descriptor based on a comparison of
 which includes a memory controller 1220 and an input/output               the third spectral power and the fourth spectral power;
 (I/O) controller 1222. As is well known, a chipset typically 30           and
 provides I/O and memory management functions as well as a             generating a second signature based on the second descrip
 plurality of general purpose and/or special purpose registers,            tOr.
 timers, etc. that are accessible or used by one or more proces        2. A method as defined in claim 1, further comprising
 sors coupled to the chipset. The memory controller 1220 identifying media information based on the first signature.
 performs functions that enable the processor 1212 (or proces 35 3. A method as defined in claim 2, wherein a Hamming
 sors if there are multiple processors) to access a system distance is used to identify the media information based on
 memory 1224 and a mass storage memory 1225.                         the first signature.
    The system memory 1224 may include any desired type of             4. A method as defined in claim 2, wherein the media
 Volatile and/or non-volatile memory Such as, for example, information is associated with at least one of audio informa
 static random access memory (SRAM), dynamic random 40 tion or video information.
 access memory (DRAM), flash memory, read-only memory                  5. A method as defined in claim 1, wherein the first descrip
 (ROM), etc. The mass storage memory 1225 may include any tor is associated with only the first frame of media samples.
 desired type of mass storage device including hard disk                6. A method as defined in claim 1, wherein the second
 drives, optical drives, tape storage devices, etc.                  descriptor is of the second frame of media samples.
    The I/O controller 1222 performs functions that enable the 45 7. A method as defined in claim 1, wherein the spectral
 processor 1212 to communicate with peripheral input/output transform operation is a sliding Fast Fourier Transform.
 (I/O) devices 1226 and 1228 via an I/O bus 1230. The I/O              8. An apparatus for generating signatures, comprising:
 devices 1226 and 1228 may be any desired type of I/O device           a processor system including a memory; and
 Such as, for example, a keyboard, a video display or monitor,         instructions stored in the memory that enable the processor
 a mouse, etc. While the memory controller 1220 and the I/O 50             system to:
 controller 1222 are depicted in FIG. 12 as separate functional            obtain a first and second frames of media samples, the
 blocks within the chipset 1218, the functions performed by                   first and second frames of media samples consecu
 these blocks may be integrated within a single semiconductor                 tively located in an audio stream, a portion of the first
 circuit or may be implemented using two or more separate                     frame of media samples overlapping with a portion of
 integrated circuits.                                             55          the second frame of media samples;
    The methods described herein may be implemented using                  identify a first frequency component having a first spec
 instructions stored on a computer readable medium that are                   tral power and a second frequency component having
 executed by the processor 1212. The computer readable                        a second spectral power by performing a spectral
 medium may include any desired combination of Solid state,                   transform operation on the first frame of media
 magnetic and/or optical media implemented using any 60                       samples:
 desired combination of mass storage devices (e.g., disk                   identify a third spectral power and a fourth spectral
 drive), removable storage devices (e.g., floppy disks, memory                power; determine a first descriptor of the first frame of
 cards or Sticks, etc.) and/or integrated memory devices (e.g.,               media samples based on a comparison of the first
 random access memory, flash memory, etc.).                                   spectral power and the second spectral power;
    Although certain methods, apparatus, and articles of manu 65           determine a second descriptor of the second frame of
 facture have been described herein, the scope of coverage of                 media samples based on a comparison of the third
 this patent is not limited thereto. To the contrary, this patent             spectral power and the fourth spectral power, and
                                                                                                     Ex. 1 page 27 of 28
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                                                      US 7,783,889 B2
                                 27                                                                28
       generate a first signature based on the first descriptor and   identify a first frequency component having a first spectral
          a second signature based on the second descriptor.              power and a second frequency component having a sec
    9. An apparatus as defined in claim 8, wherein the instruc            ond spectral power by performing a spectral transform
 tions stored in the memory enable the processor System to                operation on the first frame of media samples;
 identify media information based on the first signature.             identify a third spectral power and a fourth spectral power;
    10. An apparatus as defined in claim 9, whereina Hamming          determine a first descriptor of the first frame of media
 distance is used to identify the media information based on              samples based on a comparison of the first spectral
 the first signature.                                                     power and the second spectral power;
    11. An apparatus as defined in claim 8, wherein the first         determine a second descriptor of the second frame of
 descriptor is associated with only the first frame of media 10           media samples based on a comparison of the third spec
 samples.                                                                 tral power and the fourth spectral power; and
    12. An apparatus as defined in claim 8, wherein the instruc       generate a first signature based on the first descriptor and a
 tions stored in the memory enable the processor System to:               second signature based on the second descriptor.
    obtain a first plurality of media samples; and                     15.  A tangible machine accessible medium as defined in
    identify the second frame of media samples by extracting a 15 claim 14, wherein the first descriptor is associated with only
       common plurality of media samples from the first frame the first frame of media samples.
       of media samples and appending the first plurality of          16. A tangible machine accessible medium as defined in
       media samples to the common plurality of media claim 14 having instructions stored thereon that, when
       samples, the commonplurality of media samples includ executed, cause the machine to:
       ing the overlapping portions of the first and second           obtain a first plurality of media samples; and
       frames of media samples.                                       identify the second frame of media samples by extracting a
    13. An apparatus as defined in claim 8, wherein the third             common plurality of media samples from the first frame
 spectral power is associated with a third frequency compo                of media samples and appending the first plurality of
 nent and the fourth spectral power is associated with a fourth 25        media samples to the common plurality of media
 frequency component, and wherein the third frequency com                 samples, the commonplurality of media samples includ
 ponent and the fourth frequency component are associated                 ing  the overlapping portions of the first and second
 with performing the spectral transform operation on the sec              frames of media samples.
 ond frame of media samples.                                           17. A tangible machine accessible medium as defined in
    14. A tangible machine accessible medium having instruc 30 thirdclaim 14, wherein third spectral power is associated with a
 tions stored thereon that, when executed, cause a machine to:             frequency component and the fourth spectral power is
    obtain a first frame first and second frames of media           associated with a fourth frequency component, and wherein
       samples, the first and second frames of media samples the        third frequency component and the fourth frequency com
                                                                    ponent   are associated with performing the spectral transform
       consecutively located in an audio stream, a portion of the operation     on the second frame of media samples.
       first frame of media samples overlapping with a portion
       of the second frame of media samples;                                                k   k   k   k  k




                                                                                                   Ex. 1 page 28 of 28
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                          Exhibit 2
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has practiced, uses, has used, sells, offers for sale, distributes, or imports, that perform audience

measurement, including, but not limited to, audience measurement devices TVision provides to

households that are to be associated with various household televisions or devices playing media.

Nielsen specifically accuses the devices that TVision has identified as the ‘Kinect-based device’

and the ‘Logitech-based device.’” To date, TVision has only produced 45 documents

(TVSN_NLSN_00000228–TVSN_NLSN_00000511) and source code related to the Kinect-

based system. TVision has refused to produce any documents or source code related to the

Logitech-based system. While Nielsen continues to accuse both systems, the Initial Claim Chart

directed to the ’189 patent will only concern the Kinect-based system. Nielsen will supplement

this claim chart to include allegations regarding the Logitech-based system after TVision

produces relevant documents and source code. The Initial Claim Chart for the ’889 patent will

apply to both systems. Moreover, fact discovery has only just begun per the scheduling order.

Accordingly, Nielsen reserves the right to amend, alter, or supplement its Initial Claim Charts

based on further investigation, fact or expert discovery, evaluation of the scope and content of

the prior art, any claim construction rulings by the Court, or TVision’s non-infringement

contentions. These Initial Claim Charts do not constitute any concession by Nielsen for purposes

of claim construction or (in)validity.

       Furthermore, these Initial Claim Charts are provided without prejudice to Nielsen’s rights

to introduce at hearing or trial, any subsequently-discovered evidence or expert opinions relating

to currently-known facts or Nielsen’s rights to produce and introduce at trial all evidence relating

to the proof of subsequently-discovered facts and evidence. Moreover, facts, documents, and

things now known may be imperfectly understood, and accordingly, such facts, documents, and

things may not be included in these Initial Claim Charts. Nielsen reserves the right to refer to,




                                                  2
                                                                             Ex. 2 page 2 of 55
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conduct discovery with reference to, or offer into evidence at the time of trial, any and all facts,

expert-opinion testimony, documents, and things notwithstanding the written statements herein.

           The information set forth below is provided without waiving: (1) the right to object to the

use of any statement for any purpose, in this action or any other action, on the grounds of

privilege, relevancy, materiality, or any other appropriate grounds; (2) the right to object to any

request involving or relating to the subject matter of the statements herein; or (3) the right to

revise, correct, supplement, or clarify any of the statements provided herein at any time.

           These Initial Claim Charts are subject to Nielsen’s right to protect information subject to

the attorney-client privilege and work-product doctrine. Nothing in these Initial Claim Charts

should be understood as reflecting Nielsen’s proposed claim constructions, which will be

provided at the appropriate time as listed in the Scheduling Order.


II.       The Asserted Claims

           This disclosure of asserted claims remains preliminary and is based on the information

that is available to Nielsen. Nielsen expressly reserves the right to amend and/or supplement this

disclosure to include additional patents and/or claims. Nielsen expressly reserves the right to

modify or amend the list of asserted claims based on the Court’s claim constructions, any

position taken by TVision in this action, any court orders, or to reflect additional information that

becomes available to Nielsen as the case proceeds. Nielsen asserts the following claim:


          United States Patent No. 7,783,889 (“the ’889 Patent”) claims 1, 2, 4–6, 8, 9, 11–17.

          United States Patent No. 9,020,189 (“the ’189 Patent”) claim 9.




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                                                                               Ex. 2 page 3 of 55
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III. The Accused Products, Systems, and Methods

       Nielsen incorporates by reference and adopts the identification of accused products set

forth in its Disclosures Pursuant to Paragraph 4(a) of the Delaware Default Standard for

Discovery dated July 8, 2022. Nielsen further adds to the list of accused products and services

those products and services identified in TVision’s response, as it may be supplemented, to

Nielsen’s Interrogatory No. 1.

       Specifically, this includes all products, devices, systems or methods TVision makes, has

made, licenses, purchases, practices, has practiced, uses, has used, sells, offers for sale,

distributes, or imports, that perform audience measurement, including, but not limited to,

audience measurement devices TVision provides to households that are to be associated with

various household televisions or devices playing media. Nielsen specifically accuses the devices

that TVision has identified as the                        ” and the                            ” and

the systems that include those devices. Nielsen also accuses TVision’s servers and systems that

collect and manipulate the data received from TVision’s audience measurement devices such as

the                       and                              Nielsen also accuses any versions or

variations of the foregoing. Nielsen also accuses any embodiments of U.S. Patent Publication

No. 2018/0007431. In addition to the aforementioned devices, systems, or methods, Nielsen

identifies any data or other information that is based on or derived from the information retrieved

from the aforementioned devices, systems, or methods as another proper basis for damages,

whether through a convoyed sales theory or otherwise.

       This disclosure remains preliminary and is based on the information that is available to

Nielsen. Nielsen expressly reserves the right to amend and/or supplement this disclosure to

include additional accused products, methods, or services as it learns of them. Nielsen expressly

reserves the right to modify or amend the accused products, methods, or services based on the


                                                  4
                                                                              Ex. 2 page 4 of 55
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Court’s claim constructions, any position taken by TVision in this action, any court orders, or to

reflect additional information that becomes available to Nielsen as the case proceeds.

       In addition, the analysis of the ’889 patent is based on decompiling and evaluating the the

Python versions of the ACRCloud binary that executes the ACRCloud fingerprinting algorithm,

and are available on GitHub:

https://github.com/acrcloud/acrcloud sdk python/blob/master/docker alpine/x86-

64/python2.7/acrcloud/acrcloud_extr_tool.so. The binary was successfully decompiled using

IDA Pro and the relevant functions and subroutines are included as Exhibit 1 to Appendix A and

will be referenced in Appendix A.


IV. Initial Claim Charts

       The full text of each claim of the ’189 and ’889 patents are set forth in the Initial Claim

Charts in the Appendix A (’889 Patent) and Appendix B (’189 Patent). The applicable statutory

subsection of 35 U.S.C. § 271 is subsection (a). Moreover, each claim limitation is present either

literally or is present under the doctrine of equivalents. Nielsen reserves the right to amend this

disclosure if warranted.




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                                           POTTER ANDERSON & CORROON LLP

 OF COUNSEL:
                                           By: /s/ Bindu A. Palapura
 Steven Yovits                                 David E. Moore (#3983)
 Constantine Koutsoubas                        Bindu A. Palapura (#5370)
 KELLEY DRYE & WARREN LLP                      Brandon R. Harper (#6418)
 333 West Wacker Drive                         Carson R. Bartlett (#6750)
 Chicago, IL 60606                             Hercules Plaza, 6th Floor
 Tel: (312) 857-7070                           1313 N. Market Street
                                               Wilmington, DE 19801
 Clifford Katz                                 Tel: (302) 984-6000
 Malavika Rao                                  dmoore@potteranderson.com
 KELLEY DRYE & WARREN LLP                      bpalapura@potteranderson.com
 3 World Trade Center                          bharper@potteranderson.com
 175 Greenwich Street                          cbartlett@potteranderson.com
 New York, NY 10007
 Tel: (212) 808-7800                       Attorneys for Plaintiff The Nielsen Company
                                           (US), LLC
 Dated: September 8, 2022
 10332289




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                                CERTIFICATE OF SERVICE


        I, Bindu A. Palapura, hereby certify that on September 8, 2022, true and correct copies of

the within document were served on the following counsel of record at the addresses and in the

manner indicated:


VIA ELECTRONIC MAIL

 John W. Shaw                                      Ajay S. Krishnan
 Nathan R. Hoeschen                                Bailey W. Heaps
 SHAW KELLER LLP                                   Julia L. Allen
 I.M. Pei Building                                 Reaghan E. Braun
 1105 North Market Street, 12th Floor              KEKER, VAN NEST & PETERS LLP
 Wilmington, DE 19801                              633 Battery Street
 jshaw@shawkeller.com                              San Francisco, CA 94111-1809
 nhoeschen@shawkeller.com                          akrishnan@keker.com
 Attorneys for Defendant TVision Insights, Inc.    bheaps@keker.com
                                                   jallen@keker.com
                                                   rbraun@keker.com
                                                   Attorneys for Defendant TVision Insights, Inc.



                                                  /s/ Bindu A. Palapura
                                                      Bindu A. Palapura
10164932 / 14944-00004




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                       Exhibit 3
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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

  THE NIELSEN COMPANY (US), LLC,                 )
                                                 )
                      Plaintiff,                 )    C.A. No. 22-057-CJB
                                                 )
         v.                                      )
                                                 )
  TVISION INSIGHTS, INC.,                        )
                                                 )
                    Defendant.                   )
                                                 )
                                                 )
                                                 )


                                   DECLARATION OF YAN LIU

         I, Yan Liu, declare under penalty of perjury as follows:

         1.     I am a co-founder and CEO of Defendant TVision Insights, Inc. (TVision). I

  have personal knowledge of the statements set forth below. I hold a B.A. in industrial

  engineering from the Tokyo Institute of Technology, a degree in cost accounting from

  Hitotsubashi University, and an MBA in entrepreneurship and Innovation from the MIT Sloan

  School of Management.

         2.     TVision was co-founded in 2014 by myself and another MIT graduate. TVision

  developed a system for measuring whether home viewers are paying attention to media in their

  home. The system includes devices (including a meter, webcam and software) placed in a TV

  viewer’s home. The collection of homes in which TVision’s devices are placed is called a

  “panel.”

         3.     I understand that Nielsen contends in this case that TVision infringes U.S. Pat.

  No. 7,783,889 (“the ’889 patent”) by using software in TVision devices licensed from

  ACRCloud.




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         4.     ACRCloud is a company located in China that licenses ACR software to

  customers. When TVision learned that Gracenote would refuse to renew TVision’s license to

  Gracenote’s ACR software, ACRCloud was one of several ACR software vendors that TVision

  evaluated to replace the Gracenote ACR software. ACRCloud’s website, www.acrcloud.com,

  states, “We serve customers from all over the world” and lists a number of different customers

  of ACRCloud. ACRCloud’s ACR software is used by TVision in devices placed in consumers’

  homes (the “ACRCloud Software”).           The ACRCloud Software that TVision uses is

  “executable” code. TVision has never had access to the source code for the ACRCloud

  Software.

         5.     TVision does not have any right to access the source code for the ACRCloud

  Software. TVision does not have the right to require ACRCloud to provide the source code for

  the ACRCloud Software for use in this case.




         I declare under penalty of perjury that the foregoing is true and correct.

                        2 2024
  Executed on: February ___,


                                                       Yan Liu




                                                                           Ex. 3 page 2 of 2
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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


THE NIELSEN COMPANY (US), LLC,         )
                                       )
                 Plaintiff,            )   C.A. No. 22-057-CJB
                                       )
      v.                               )
                                       )
TVISION INSIGHTS, INC.,                )
                                       )
               Defendant.              )
                                       )
                                       )
                                       )




            REBUTTAL EXPERT REPORT OF DR. DAVID ANDERSON
                  REGARDING U.S. PATENT NO. 7,783,889




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  I.   INTRODUCTION

       1.       I understand that The Nielsen Company (US), LLC (“Nielsen”) has alleged that

TVision Insights, Inc. (“TVision”) infringes claims 1, 2, 4–6, 8, 9, 11–17 (“asserted claims”) of

U.S. Patent No. 7,783,889 (“the ’889 Patent” or “patent-in-suit”).

       2.       I have been retained by TVision as an expert in this case to provide opinions and

conclusions regarding the asserted claims of the patents-in-suit and to evaluate and address the

infringement opinions of Dr. Pierre Moulin, who has been engaged by Nielsen, as set forth in his

report dated October 25, 2023 (“Moulin Report”). Dr. Moulin relies on the report of Dr.

Vinayak Tanksale dated October 25, 2023 (“Tanksale Report”). To the extent my opinion

applies differently to the Moulin Report and the Tanksale Report, I will address them separately.

Otherwise, my opinions apply to both reports.

       3.       This report provides the bases for my conclusion that accused TVision product(s)

do not infringe any of the asserted claims. I have reviewed the patent-in-suit, the respective

prosecution histories for the patent-in-suit, the accused TVision product(s), and other documents

in forming the opinions expressed in this report. The materials I reviewed and/or relied upon are

listed below.

       4.       If Dr. Moulin, Dr. Tanksale, or Nielsen is permitted to offer any additional or

different opinions regarding infringement in reply or for any other reason, I reserve the right to

supplement my report or to otherwise address such opinions and to provide any rebuttal opinions

in response. To the extent Dr. Moulin or Dr. Tanksale is permitted to supplement or amend his

reports to provide any such information, I reserve the right to address any such information or

opinions and to supplement my report to the extent necessary.




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       51.     In his report, Dr. Tanksale identifies the create_fp function as the entry-point

function for implementing the ACRCloud FP Algorithm. “As set forth above, the TVision

“Muninn” code executes the create_fingerprint_by_filebuffer function of the ACRCloud

Python SDK (acrcloud_extr_tool.so). This binary was decompiled to extract the ultimate

function responsible for the creation of fingerprints that was common across all of the various

‘create_fingerprint’ functions discussed above in the ACRCloud Python SDK—create_fp. The

function create_fp shall be referred to as the ‘ACRCloud FP Algorithm’ in this report.”

(Tanksale Report, ¶51).        However, later in his report, Dr. Tanksale states, that

create_fingerprint_by_filebuffer is an alias for a different function, create_fp_by_buffer.

While both functions perform the task of creating fingerprints of the audio, the ambiguity of the

decompilation process shows create_fp_by_buffer calling the function create_afp_session with

the wrong number of inputs.          I followed Dr. Tanksale’s procedure for decompiling

create_fp_by_buffer with a more recent version of the IDA Pro decompiler and the call to

create_afp_session was similarly found in create_fp.           Accordingly, the analysis below is

relevant to both functions identified by Dr. Tanksale as implementing the ACRCloud FP

Algorithm and it assumes that the call to create_afp_session in create_fp_by_buffer is

performed as shown in Dr. Tanksale’s code for create_fp. If Dr. Moulin or Nielson argues that

that is inappropriate, then their analysis has the flaw that their trace through the code does not

properly identify relevant function parameters being passed.

       52.     To create a fingerprint, the ACRCloud FP Algorithm uses a Fast Fourier

Transform (FFT) to convert frames of audio from the time domain to the frequency domain. The

procedure followed in the code follows these steps.                  The create_fp and/or the

create_fp_by_buffer functions call the gen_fp function at Moulin Ex. 1, ln32 and ln. 1143




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to VidVita.   See Moulin Report at ⁋154 (“TVision … provides VidVita with an ID (e.g.

tivo_source_id) that corresponds to the ID of the programming guide metadata.”).

        60.    As a result, I disagree with Dr. Moulin’s opinion regarding Reference

Fingerprints (Moulin Report at §IX.1). It is my opinion that the TVision does not infringe due to

VidVita’s creating of reference fingerprints.

                    b. “determining a first descriptor of the first frame of media samples
                       based on a comparison of the first spectral power and the second
                       spectral power”

        61.    It is my opinion that this claim element requires a descriptor of a particular frame

to be determined by comparing the spectral powers of two frequency components from that same

frame. I understand that Nielsen agrees. See D.I. 75 (Joint Claim Construction Motion) at p. 5

(“The frame “descriptor” mentioned above is generated by comparing the spectral powers of two

frequency components within a particular frame. (Id., 11:24-28, 16:19-54.)”) (emphasis in

original).

        62.    Dr. Moulin also took the same position in his opinion when he stated “[t]his

descriptor uses information corresponding only to the frequency components in the first frame.

In other words, the descriptor is associated only with the first frame.” Moulin Report at ⁋174.

Dr. Moulin’s opinion is that the peak point determined by the local_max function is the claimed

“descriptor” of the first frame. Moulin Report at ⁋⁋174-175. I disagree.

        63.    First, the ACRCloud FP Algorithm used by the accused TVision products

employs a local window to move one frame by one frame on the generated array of spectrum

values. See supra. at §VIII.1. The peak point is determined based on the points within the local

window. Id. When determining whether a particular point is a peak point, the local_max

function calls the getRowMax function to determine the maximum value of a row of

that is within the window. Id. (Moulin Ex. 1, ln. 368). Such determination is done by comparing


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the spectrum values of a frame

                      See supra. at §VIII.1 (Moulin Ex. 1, ln. 382; lns. 537; 565–70).




As a result, the accused TVision products determine a peak point of a local window by

comparing the spectral powers of frequency points from                       . This contradicts

Dr. Moulin’s opinion that “[t]his descriptor uses information corresponding only to the

frequency components in the first frame.” See Moulin Report at ⁋174. Because the claim

limitation requires intraframe calculation (the descriptor of a frame is calculated based on the

two frequency components from the same frame), even assuming the peak point being calculated

can be considered to be of the “frame,” such interframe calculation does not practice the above-

referenced claim element as confirmed by the ’889 Patent specification at 2:56-65 (“Unlike

known methods in the prior art that use interframe operations (e.g., operations based on

sample data within different data sample frames) to generate digital spectral signatures, the


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methods and apparatus described herein may be implemented using intraframe operations (e.g.,

operations based on sample data within a single frame). Intraframe operations may include, for

example, comparison operations, determining percentage differences between values, etc. that

are performed on two or more values (e.g., spectral power values) that are uniquely associated

with or derived from a single frame.”) (Emphasis added).       Furthermore, Nielsen has not

presented any argument that comparing values from different frames satisfies this claim

limitation.

       64.    Second, the ACRCloud FP Algorithm used by the accused TVision products

employs a local window spanning over multiple frames. See supra. at §VIII.1. The peak point

from the local_max function is the point with the maximum spectrum value for all the frames

within the local window, not a single frame. See supra. at §VIII.1 (the local_max function

calling the getRowMax function and the isListMax function). Contrary to Dr. Moulin’s opinion

that “the descriptor is associated only with the first frame,” see Moulin Report at ⁋174, even

though the peak point eventually ends up in a frame, the peak point is the measurement of the

local time-frequency window as illustrated below.




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Freq_Size




                                                                                                         Freq_Size (1025)
                                                                                                                x
                                                                                                 Frame_Num (depending on audio size)


                                                                                            The red point has the biggest spectrum value
       8
       7
                                                                                             of all the points in the window compared
                                                                                                with all other potential blue points.
       6

       5

       4

       3

       2

       1

       0

            0   1   2   3   4   5   6   7   8   9   1   1   1   1   1   1   1   1   1   1   20
                                                    0   1   2   3   4   5   6   7   8   9
                                                                                            Frame_Num




     Indeed, because each “peak point” is based off the calculation of the points from the local

     window, not a single frame, many frames would not have a peak point at all. As a result, the

     ACRCloud FP Algorithm used by the accused TVision products does not practice the

     “determining a first descriptor of the first frame” limitation.

                65.         As a result, I disagree with Dr. Moulin’s opinion regarding this element (Moulin

     Report at §IX.1.c). It is my opinion that the accused TVision products do not practice this claim

     element.

                                    c. “generating a first signature based on the first descriptor”

                66.         Because the accused TVision products do not have “the first descriptor [of the

     first frame]” as I explained above, they do not practice this claim element that requires “the first

     descriptor.” See supra. at §VIII.2.b.

                67.         Further, the nice_max function that Dr. Moulin pointed to as generating a

     signature does not have descriptors A, B, C, D as explained by Dr. Moulin. Compare Moulin


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                                                                                                            Ex. 4 page 30 of 55
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   Dated: November 21, 2023


                                                      David Anderson, Ph.D.




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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

                                           C.A. No. 1:22-cv-0057-CJB
 THE NIELSEN COMPANY (US), LLC,
                                           Magistrate Judge Christopher J. Burke
                   Plaintiff,
                                           JURY TRIAL DEMANDED
       v.


 TVISION INSIGHTS, INC.,

                   Defendant.




            REBUTTAL EXPERT REPORT OF DR. VINAYAK TANKSALE




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  I.      INTRODUCTION

       1. I, Vinayak Tanksale, submit this rebuttal expert report on behalf of Plaintiff The Nielsen

          Company (US), LLC (“Nielsen”). I have been retained by Nielsen to provide decompiled

          pseudocode from certain ACRCloud object code and to provide certain opinions relating

          to the decompilation.

       2. I am not an employee of Nielsen or any affiliate or subsidiary of Nielsen. Nor do I have a

          financial interest in Nielsen or the outcome of this case.

       3. My employer, Quandary Peak Research, Inc., has been compensated at a rate of $325

          USD per hour for my time working on this matter. My compensation is in no way

          contingent on the outcome of this matter. I have been assisted in my work by qualified

          staff. However, the substance of the facts and opinions about which I am expected to

          testify reflect my personal opinions, based on my education and experience and review of

          various materials.

       4. The bases for my opinions are discussed in detail below. If called as an expert witness in

          this matter, I anticipate that my testimony may concern the matters addressed below.

          Additionally, I anticipate that I may comment on materials relating to these topics that

          may later become available and I reserve the right to supplement or amend this report

          upon receipt of any new information made available to me, including documents yet to be

          produced or depositions yet to be taken. I also reserve the right to offer additional

          testimony in response to any matters raised by TVision or their experts, and/or in light of

          any relevant orders from the Court.

       5. In connection with my testimony, I may present visual aids and demonstrative exhibits

          that illustrate the analysis discussed in this report.




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      with respect to the call to the function create_afp_session. Dr. Anderson glosses over

      this difference, but as I explain in greater detail in following sections, the difference in

      how create_afp_session is called in the pseudocode for create_fp and

      create_fp_by_buffer illustrates deep flaws in Dr. Anderson’s analysis.

   17. At a high level, Dr. Anderson’s analysis shows that he fails to understand how to use the

      IDA Pro software. A click of the mouse in the IDA Pro terminal confirms that both

      create_fp_by_buffer and create_fp load the function create_afp_session from the same

      memory address, LOAD:0000000000013240. The calls to create_afp_session in the

      pseudocode for create_fp and create_fp_by_buffer appear to differ, for example, in the

      position of the variable containing the value “0x1000200020002LL;” in create_fp this

      value is stored in the variable v12, Ex. 1, ln. 24, and is passed to create_afp_session as

      the 7th parameter. On the other hand, in create_fp_by_buffer this value is stored in

      variable v17 and is passed to create_afp_session in the second parameter shown in the

      pseudocode.

   18. Dr. Anderson’s analysis of the create_afp_session function views this discrepancy as a

      justification for reviewing the create_fp function rather than the create_fp_by_buffer

      that is actually called by the TVision source code.

   19. It appears to me that Dr. Anderson apparently reached this erroneous conclusion because

      he does not appear to understand the differences between decompiled pseudocode and

      source code. Specifically, Dr. Anderson does not understand that only those variables that

      are actually referenced in the compiled, executable version of the application will appear

      in the pseudocode created by decompiling the executable.




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          compounds this error repeatedly, leading him to baseless and erroneous conclusions as a

          consequence of this false assumption.

       106.   Dr. Anderson’s description of the ACRCloud algorithm is substantially different from

          what is described in the ACRCloud White Paper. This is a bold claim, and Dr. Anderson

          does not explain the discrepancy between his version of the ACRCloud algorithm and the

          description of that algorithm in the ACRCloud White Paper. Given this failure, and the

          numerous errors in his analysis, detailed above, Dr. Anderson’s analysis is fatally flawed,

          totally unreliable, and should be given no weight.


VII.      CONCLUSION

       107.   Based on the foregoing analysis I conclude that my analysis of the ACRCloud SDK is

          accurate and Dr. Anderson’s analysis is fatally flawed as a consequence of numerous

          errors and false assumptions that have led him to baseless and incorrect conclusions.




I, Vinayak Tanksale, hereby declare under penalty of perjury under the laws of the United States


of America, that the foregoing Report is true and correct to the best of my knowledge.




      12/15/2023
Date: _________                                        ___________________________

                                                               Vinayak Tanksale




                                                                                                   40
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  From:           Yovits, Steven
  To:             Ajay Krishnan; Gaddy, Mel; Julia L. Allen; Nate Hoeschen; arussell@shawkeller.com
  Cc:             Koutsoubas, Constantine; Palapura, Bindu A.; David Moore; Yovits, Steven
  Subject:        RE: Motion to Stay
  Date:           Wednesday, February 8, 2023 2:21:56 PM


 Hi Ajay,

 We have decided to dismiss the ‘889 patent from the ACRCloud case. I assume that moots the
 question regarding a motion to stay.

 Thanks,
 Steve



 STEVEN YOVITS
 Kelley Drye & Warren LLP
 Tel: (312) 857-7099
 Cell: (312) 593-3361




 From: Ajay Krishnan <AKrishnan@keker.com>
 Sent: Friday, February 3, 2023 1:02 PM
 To: Gaddy, Mel <MGaddy@KelleyDrye.com>; Julia L. Allen <JAllen@keker.com>; Nate Hoeschen
 <nhoeschen@shawkeller.com>; arussell@shawkeller.com
 Cc: Koutsoubas, Constantine <CKoutsoubas@KelleyDrye.com>; Yovits, Steven
 <SYovits@KelleyDrye.com>; Palapura, Bindu A. <bpalapura@potteranderson.com>; David Moore
 <dmoore@potteranderson.com>
 Subject: RE: Meet & Confer - Amended Answer - Nielsen v. TVision (243 patent)


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                                    akrishnan@keker.com




 Mel – thanks, that works for us. We also saw that ACRCloud has waived service in their case. So we’d
 also like to discuss on the same call, with Delaware counsel present, TVision’s contemplated motion
 to stay litigation of the 889 motion pending resolution of the ACRCloud case.

 Thanks,

 Ajay


 Ajay Krishnan
 Keker, Van Nest & Peters LLP


                                                                                                  Ex. 6 page 1 of 3
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 633 Battery Street
 San Francisco, CA 94111-1809
 415 676 2267 direct | 415 391 5400 main
 akrishnan@keker.com | vcard | keker.com

 From: Gaddy, Mel <MGaddy@KelleyDrye.com>
 Sent: Friday, February 3, 2023 7:22 AM
 To: Julia L. Allen <JAllen@keker.com>; Ajay Krishnan <AKrishnan@keker.com>; Nate Hoeschen
 <nhoeschen@shawkeller.com>; arussell@shawkeller.com
 Cc: Koutsoubas, Constantine <CKoutsoubas@KelleyDrye.com>; Yovits, Steven
 <SYovits@KelleyDrye.com>; Palapura, Bindu A. <bpalapura@potteranderson.com>; David Moore
 <dmoore@potteranderson.com>
 Subject: Meet & Confer - Amended Answer - Nielsen v. TVision (243 patent)

 [EXTERNAL]




 Hi Julia & Ajay – Thank you for sending the amended pleading.

 In light of the length of its additions, would your team be available to meet and confer next Monday,
 February 6 at 9:00 AM Pacific / 11:00 AM Central / 12:00 PM Eastern?

 Thanks,
 Mel


 MEL GADDY
 Kelley Drye & Warren LLP
 Tel: (312) 857-2507
 Cell: (312) 579-6449




 From: Courtney Harris <charris@shawkeller.com>
 Sent: Thursday, February 2, 2023 3:59 PM
 To: bpalapura@potteranderson.com; Katz, Clifford <CKatz@KelleyDrye.com>; Koutsoubas,
 Constantine <CKoutsoubas@KelleyDrye.com>; Schenerman, Jolie <JSchenerman@KelleyDrye.com>;
 Gaddy, Mel <MGaddy@KelleyDrye.com>; Moore, David <dmoore@potteranderson.com>; Yovits,
 Steven <SYovits@KelleyDrye.com>
 Subject: C.A. No. 22-1345-CJB The Nielsen Company (US), LLC, v. TVision Insights, Inc. - Amended
 Answer


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                                  charris@shawkeller.com




                                                                               Ex. 6 page 2 of 3
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 Please find attached the following document:

     -     Amended Answer to Complaint for Patent Infringement

 Courtney N. Harris
 Senior Paralegal
 SHAW KELLER LLP
 I.M. Pei Building
 1105 North Market Street, 12th Floor
 Wilmington, DE 19801
 (302) 298-0716- Telephone
 (302) 300-4026- Facsimile

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                        ([KLELW
Case 1:22-cv-00057-CJB Document 153 Filed 02/09/24 Page 43 of 64 PageID #: 1707


  From:           Yovits, Steven
  To:             Jason Xu; Eric Cohen
  Cc:             Palapura, Bindu A.; Moore, David E.; Brown, Andrew L.; Lewis, Douglas; Koutsoubas, Constantine; Yovits, Steven
  Subject:        RE: ACRCloud"s Source Code
  Date:           Monday, August 21, 2023 4:42:55 PM




 Dear Jason,

 Thank you for speaking with me this afternoon. I will get back to you shortly regarding the dates you
 proposed.

 Thank you also for confirming on our call that TVision will not attempt to use the ACRCloud source
 code for any purpose (per my email below).

 Best regards,
 Steve



 STEVEN YOVITS
 Kelley Drye & Warren LLP
 Tel: (312) 857-7099
 Cell: (312) 593-3361




 From: Yovits, Steven
 Sent: Monday, August 14, 2023 1:08 PM
 To: Jason Xu <jason.xu@rimonlaw.com>; Eric Cohen <eric.cohen@rimonlaw.com>
 Cc: 'Palapura, Bindu A.' <bpalapura@potteranderson.com>; 'Moore, David E.'
 <dmoore@potteranderson.com>; Brown, Andrew L. <abrown@potteranderson.com>; Lewis,
 Douglas <DLewis@kelleydrye.com>; Koutsoubas, Constantine <CKoutsoubas@KelleyDrye.com>;
 Yovits, Steven <SYovits@KelleyDrye.com>
 Subject: ACRCloud's Source Code

 Dear Jason,

 Since the beginning of the 1:22-cv-00057-CJB case, TVision's position is and has
 been that it does not have ACRCloud's source code in its possession, custody, or
 control – and that therefore, it would be impossible for TVision to produce the code to
 Nielsen.

 Nielsen has unsuccessfully attempted, through a Hague Convention request, to
 obtain ACRCloud's source code from ACRCloud directly. In addition, as soon as
 Nielsen learned that there are or were ACRCloud entities in the U.S., Nielsen served
 a subpoena for the source code on those entities. Those efforts, too, apparently have


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 been unsuccessful. And finally, Nielsen asked you, in your role as counsel for
 ACRCloud in the 1:22-cv-01344-CJB case, to (1) help secure ACRCloud's
 compliance with the above-mentioned Hague Convention request; and (2) consider a
 cross-use agreement that would allow Nielsen to use, in the 1:22-cv-00057-CJB case,
 the ACRCloud source code it accesses in the 1:22-cv-01344-CJB case. Your
 response was that you are unable to help with regard to the Hague Convention
 request and that you are unwilling to consider a cross-use agreement.

 Given the extensive efforts Nielsen has made to obtain access to ACRCloud's source
 code, and TVision's (and its counsel's) continual insistence that it cannot produce or
 help Nielsen secure access to the code, it would be unfair and prejudicial for TVision
 to attempt to use ACRCloud's source code in the 1:22-cv-00057-CJB case for any
 purpose. If TVision attempts to do so, Nielsen will ask the Court to disallow it. We
 assume, unless you immediately tell us otherwise, that TVision will not attempt to do
 so.

 Thank you.

 Best regards,
 Steve




 STEVEN YOVITS
 Chair, Patent Practice

 Kelley Drye & Warren LLP
 333 West Wacker Drive, 26th Floor
 Chicago, IL 60606
 Tel: (312) 857-7099
 Cell: (312) 593-3361

 syovits@kelleydrye.com




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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 THE NIELSEN COMPANY (US), LLC,

                   Plaintiff,
                                           C.A. No. 1:22-cv-0057-CJB
       v.                                  Magistrate Judge Christopher J. Burke

 TVISION INSIGHTS, INC.,                   JURY TRIAL DEMANDED

                   Defendant.



              OPENING EXPERT REPORT OF VINAYAK TANKSALE




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I. INTRODUCTION

   1. I, Vinayak Tanksale, submit this expert report on behalf of Plaintiff The Nielsen

      Company (US), LLC (“Nielsen”). I have been retained by Nielsen to provide decompiled

      pseudo-code from certain ACRCloud object code and to provide certain opinions relating

      to the process of decompilation.

   2. I am not an employee of Nielsen or any affiliate or subsidiary of Nielsen. Nor do I have a

      financial interest in Nielsen or the outcome of this case.

   3. I have never testified as an expert witness. My employer, Quandary Peak Research, Inc.,

      has been compensated at a rate of $325 USD per hour for my time working on this

      matter. My compensation is in no way contingent on the outcome of this matter. I have

      been assisted in my work by qualified staff. However, the substance of the facts and

      opinions about which I am expected to testify reflect my personal opinions, based on my

      education and experience and review of various materials.

   4. The bases for my opinions are discussed in detail below. If called as an expert witness in

      this matter, I anticipate that my testimony may concern the matters addressed below.

      Additionally, I anticipate that I may comment on materials relating to these topics that

      may later become available and I reserve the right to supplement or amend this report

      upon receipt of any new information made available to me, including documents yet to be

      produced or depositions yet to be taken. I also reserve the right to offer additional

      testimony in response to any matters raised by TVision or their experts, and/or in light of

      any relevant orders from the Court.

   5. In connection with my testimony, I may present visual aids and demonstrative exhibits

      that illustrate the analysis discussed in this report.




                                                                                                   1
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          ● Outstanding Teaching Assistant Award. Computer Science, Purdue University.

              2000 - 2001

          ● Outstanding Teaching Assistant Award. Computer Science, Purdue University.

              1999 – 2000

   20. I have also been a consultant for Quandary Peak since October 2021. In that role, I have

      conducted extensive code reviews on multiple software systems including assisting and

      leading the decompilation of software binary code such as the code discussed below.

III.SCOPE OF WORK

   21. I have been retained by Nielsen to render testimony regarding ACRCloud’s automatic

      content recognition platform software development kit (hereinafter “ACRCloud SDK”).

      Specifically, I was asked to provide decompiled pseudo-code from certain ACRCloud

      object code and provide opinions relating to that pseudo-code.

   22. I am the person solely responsible for the opinions contained in this report. I was assisted

      in my investigation by qualified staff. All analysis and other assistance in connection with

      the preparation of this report was performed and provided by me or my staff under my

      supervision and direction. The opinions expressed in this report, however, are my own. I

      reserve the right to amend or supplement any of the findings and opinions expressed in

      my reports if I receive additional information bearing on the issues I have been asked to

      address.

IV. MATERIALS RELIED UPON

   23. The materials relied upon to draft this report are cited throughout the text of this report

      and in Appendix B. This report principally deals with my reverse engineering and




                                                                                                     8
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         analysis of fingerprinting functionality implemented in the ACRCloud SDK, which is

         based on my review of the following ACRCloud SDK library:

                a. https://github.com/acrcloud/acrcloud_sdk_python/blob/master/docker_alpine/x86-

                    64/python2.7/acrcloud/acrcloud_extr_tool.so

V. BACKGROUND

    24. My opinions are related to decompiled object (binary) code for the ACRCloud SDK

         identified above.2 The decompiled object code for this library was created using a tool

         called IDA Pro, which “can generate assembly language source code from

         machine-executable code and make this complex code more human-readable.”3

         Decompilation of Java and C++ applications is well established.4 The following

         paragraphs provide additional background and my review methodology.

    25. Source code is a set of instructions and statements written in a specific programming

         language. It serves as the foundation for computer programs or software applications.

         Programmers write source code to define the logic, behavior, and functionality of a

         program. This code is then translated or compiled into binary code, which the computer’s

         processor can execute.


         2
          Technically speaking, decompilation is the process by which assembly code is translated and transformed
into pseudo-code, i.e., a plain language description of the steps in an algorithm that uses structural conventions of a
normal programming language and is intended to be readable by a computer programmer of ordinary skill.
Decompilation typically follows another step that is commonly referred to as “disassembly,” in which the object
code (binary) of an application is translated into a series of low-level instructions, i.e., an assembly language, that
corresponds to the binary machine code instructions.
         3
             See https://hex-rays.com/ida-pro/ (Exhibit 2).
         4
           See, e.g., Vinciguerra, Lori, et al. "An experimentation framework for evaluating disassembly and
decompilation tools for C++ and Java." 10th Working Conference on Reverse Engineering, 2003. WCRE 2003.
Proceedings.. IEEE Computer Society, 2003. (presenting extensive study and empirical performance data);
Cifuentes, Cristina. "Reverse engineering and the computing profession." Computer 34.12 (2001): 168-167
(addressing the reliability of reverse engineering as an approach to the study of software applications); Treude,
Christoph, et al. "An exploratory study of software reverse engineering in a security context." 2011 18th Working
Conference on Reverse Engineering. IEEE, 2011 (outlining processes and tools for reverse engineering as well as
the resulting creation of artifacts).



                                                                                                                      9
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   26. Binary code (also known as object code) is the set of instructions that a computer’s

      processor understands and uses to run software or programs. When software developers

      write a computer program in a high-level language like Python or Java, the computer

      cannot directly understand it. It needs to be translated into a format that consists of zeros

      and ones (binary) for the computer’s processor to execute. This translation process is

      done by a special program called a compiler or interpreter. The ACRCloud SDK that I

      reviewed in this case is made available to the public in the form of compiled binary files.5

   27. A software library is a collection of pre-made tools or building blocks that programmers

      can use to make their job easier. Software libraries save time and effort, making it faster

      and more efficient to develop software. They also help ensure that common tasks are

      handled reliably and consistently across different applications because the code in the

      library has likely been thoroughly tested and refined. Software libraries are typically

      compiled to improve the speed and performance of the functionality provided by the

      library. In summary, software libraries typically provide a collection of related

      functionality that has been tested, approved, and packaged into a compact, portable form

      that can be used by other developers to implement functionality in their own applications.

      In this way, a software library is similar to an appliance that can be purchased off the

      shelf and installed in a home—the person buying the appliance does not have to know

      how it works, only how to plug it in and use its controls.

   28. As set forth in greater detail below, I reverse engineered the ACRCloud SDK using a

      software tool called IDA Pro to create pseudo-code from ACRCloud SDK library object

      code (identified above). Reverse engineering of software is an analytical process that


      5
          See https://github.com/acrcloud/ (Exhibit 3) (native files produced in connection with this report).



                                                                                                                 10
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        involves dissecting a software application to uncover its underlying structure,

        functionality, and design. This practice is employed for various purposes, including

        understanding legacy systems, creating interoperable software, and identifying security

        vulnerabilities. Reverse engineering is particularly valuable when access to the original

        source code is unavailable or when the code has been deliberately obfuscated, for

        example, to protect intellectual property.6

    29. The process I employed to reverse-engineer the ACRCloud SDK is typically referred to

        as the decompilation of that code.7 Decompilation is the process of converting low-level

        binary code back into a higher-level programming language representation, making it

        easier for analysts to comprehend the functionality originally implemented in the source

        code. It is well understood that through techniques such as disassembly, decompilation,

        and dynamic analysis, researchers and analysts can gain insights into the internal

        workings of a program, allowing them to reconstruct its high-level logic and algorithms. 8

    30. In other words, decompilation is a reverse engineering process in which a software

        program’s binary code, which is in a machine-readable format, is transformed back into a

        higher-level human-readable language, typically a form of source code that is referred to




        6
         Colberg, C., and J. Nagra. Surreptitious Software: Obfuscation, Watermarking, and Tamperproofing for
Software Protection. Addison-Wesley, 2011.
         7
           See, e.g., Cifuentes, Cristina. "Reverse engineering and the computing profession." Computer 34.12
(2001): 168; see also Fokin, Alexander, Katerina Troshina, and Alexander Chernov. "Reconstruction of class
hierarchies for decompilation of C++ programs." 2010 14th European Conference on Software Maintenance and
Reengineering. IEEE, 2010 (demonstrating automatic reconstruction of C++ code from assembly code using
function tables) (Fokin, et. al.’s work has been incorporated into IDA Pro interactive disassembler)
         8
           See, e.g., Cifuentes, Cristina. "Reverse engineering and the computing profession." Computer 34.12
(2001): 168; see also Fokin, Alexander, Katerina Troshina, and Alexander Chernov. "Reconstruction of class
hierarchies for decompilation of C++ programs." 2010 14th European Conference on Software Maintenance and
Reengineering. IEEE, 2010 (demonstrating automatic reconstruction of C++ code from assembly code using
function tables) (Fokin, et. al.’s work has been incorporated into IDA Pro interactive disassembler)



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      as “pseudo-code.” This process is employed, for example, to understand or modify an

      existing program for which the original source code is unavailable or lost.

   31. Consistent with the approach I have described, reverse engineering from object code files

      involves analyzing and understanding a program’s behavior, design, and functionality by

      examining its source code. In this case, once decompiled code has been obtained, it is

      possible to ascertain the functionality and data structures used in the software, including

      the parameters passed to functions, return values of functions, and conditional and

      looping structures within each function.

   32. While the availability of comments within the source code and README files enhance

      the readability of the underlying code, it does not necessarily represent what the compiled

      object code is actually doing. Comments, for example, are not compiled. README Files

      are also not compiled. Decompiling the actual object code binaries tells someone exactly

      what the code is doing.

   33. For example, a function can be written in source code to multiply by the variable “X” and

      then divide by that same variable “X” many lines later in the same method. Since “X” is

      canceled out, the compiler may not include those steps in the actual instructions being

      sent to the processor. But, someone reading the source code could be misled into thinking

      that “X” is relevant to that function.

   34. The source code is akin to the blueprints of a house drawn up by the architect. It will lay

      out the general dimensions of the house and provide instructions for the builder.

      Decompiled code is akin to recreating those blueprints from a survey of the actual house

      after it is built. These recreated blueprints will have the actual dimensions and other

      details of the house.



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        content_prediction_frame function calls the disambiguate_content_fingerprints

        function at ln. 222.95

    108.     The function disambiguate_content_fingerprints takes the raw linear data frame to

        disambiguate multiple choices of content fingerprints for the same device observation

        timestamp.96

                 The chosen observation fingerprint obeys the following rules: - If there is a

                 previous fingerprint for a previous timestamp on the same content ID, choose the

                 least candidate fingerprint which is >= the previous one. –Otherwise choose the

                 latest fingerprint which is <= the observation timestamp. Otherwise choose the

                 earliest fingerprint.97

                                                *        *       *

I, Vinayak Tanksale, hereby declare under penalty of perjury under the laws of the United States

of America, that the foregoing Report is true and correct.



      10/23/2023
Date: __________
                                                                       Vinayak Tanksale




        95
           Ar.py (ln. 222) (TVSN_NLSN_SC_00000349).
        96
           Ar.py (lns. 161–199) (TVSN_NLSN_SC_00000348).
        97
           Ar.py at lns. 163–169 at TVSN_NLSN_SC00000348. See id. lns. 175–199
(TVSN_NLSN_SC_00000349). See also ar.py (TVSN_NLSN_SC_00000347–52), lns. 202–224
(content_prediction_frame); lns. 227–67 (linear_fringe_map); lns. 270–299 (interpolate_fingerprints); lns. 301–71
(linear_predict_content); lns. 444–474 (predict_frame).



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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 THE NIELSEN COMPANY (US), LLC,

                   Plaintiff,
                                           C.A. No. 1:22-cv-0057-CJB
       v.                                  Magistrate Judge Christopher J. Burke

 TVISION INSIGHTS, INC.,                   JURY TRIAL DEMANDED

                   Defendant.



                OPENING EXPERT REPORT OF PIERRE MOULIN




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                  obtain a first plurality of media samples; and identify the second
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            13.   Claim 16—“A tangible machine accessible medium as defined in
                  claim 14 having instructions stored thereon that, when executed,
                  cause the machine to: obtain a first plurality of media samples; and
                  identify the second frame of media samples by extracting a
                  common plurality of media samples from the first frame of media
                  samples and appending the first plurality of media samples to the
                  common plurality of media samples, the common plurality of
                  media samples including the overlapping portions of the first and
                  second frames of media samples.” ........................................................... 94




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                14.        Claim 17—“A tangible machine accessible medium as defined in
                           claim 14, wherein third spectral power is associated with a third
                           frequency component and the fourth spectral power is associated
                           with a fourth frequency component, and wherein the third
                           frequency component and the fourth frequency component are
                           associated with performing the spectral transform operation on the
                           second frame of media samples.” ............................................................ 95
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      A.        Dat-Track ............................................................................................................. 97
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I.       INTRODUCTION

         1.     I, Pierre Moulin, submit this expert report on behalf of Plaintiff The Nielsen

Company (US), LLC (“Nielsen”). I have been retained by Nielsen to provide expert opinions

regarding U.S. Patent No. 7,783,889 (“the ’889 patent”). In this report, I provide opinions

concerning infringement of claims 1, 2, 4–6, 8, 9, and 11–17 of the ’889 patent by Defendant

TVision Insights, Inc. (“TVision”).

         2.     I am not an employee of Nielsen or any affiliate or subsidiary of Nielsen. Nor do I

have a financial interest in Nielsen or the outcome of this case. I am being compensated for my

work at $500/hour. My compensation is not dependent on the outcome of this case or on the

content of my opinions.

         3.     The bases for my opinions are discussed in detail below. If called to testify as an

expert witness in this matter, I anticipate that my testimony may concern the matters addressed

below. Additionally, I anticipate that I may comment on materials relating to these topics that

may later become available, and I reserve the right to supplement or amend this report upon

receipt of any new information made available to me, including documents yet to be produced or

depositions yet to be taken. I also reserve the right to offer additional testimony in response to

any matters raised by TVision or their experts, and/or in light of any relevant orders from the

Court.

         4.     In connection with my testimony, I may present visual aids and demonstrative

exhibits that illustrate the analysis discussed in this report.

         5.     Unless otherwise noted, the statements made in this Report are based on my

personal knowledge and experience, and if called to testify about this Report, I could and would

do so competently and truthfully.




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       171.      As detailed below, ACRCloud’s FP Algorithm determines a first descriptor of the

first frame of media samples based on a comparison of the first spectral power and the second

spectral power. See, supra, ¶¶ 117–131 (Section VIII.D.2 Frequency Components) (incorporated

by reference).

       172.      As set forth above, for each “frame of media samples” that is being analyzed

(including the “first frame of media samples”), the gen_fp function calls the spectrogram

function. See Moulin Ex. 1, ln. 133; see also ¶¶ 109–113, 161 (describing execution path from

create_fp_by_buffer to the execution of spectrogram). The spectrogram function calls

function kkfft which results in an array data object that includes the identified frequency

components, spectral powers, and a time index for the frame being evaluated. Moulin Ex. 1, lns.

863–1076. See also id., lns. 216–28. See, supra, ¶¶ 166–167 (incorporated by reference).

       173.      The gen_fp function calls the local_max function. Moulin Ex. 1, ln. 133; lns.

273–504 (local_max definition). The local_max function calls the getRowMax function for the

first frame of samples with a given window size. Moulin Ex. 1, ln. 382; lns. 537–611

(getRowMax definition). The getRowMax function determines the first descriptor by applying a

sequence of steps to the array data object containing the frequency components and spectral

powers discussed above in paragraph 172.

       174.      The first step consists of comparing the spectral power of the first frequency

component in the given sample to the spectral power of the second frequency component, and

retaining the largest one. Moulin Ex. 1, lns. 555–70. The second step consists of comparing the

spectral power of the retained frequency component from step one with the spectral power of the

next frequency component, and, again, retaining the largest one. Moulin Ex. 1, lns. 555–70. This

goes on for all of the identified frequency components from the FFT. Once this procedure goes



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I, PIERRE MOULIN, hereby declare under penalty of perjury under the laws of the United

States of America, that the foregoing Report is true and correct.



Date: ___October 25, 2023_______
                                                             Pierre Moulin




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                  EXHIBIT 10
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  From:            Lewis, Douglas
  To:              Eric Cohen; Jason Xu
  Cc:              Andrew Russell; Nate Hoeschen; Brown, Andrew L.; Moore, David E.; Palapura, Bindu A.; Yovits, Steven;
                   Nielsen_TVision_team
  Subject:         Nielsen v. TVision/follow up to M&C call
  Date:            Tuesday, January 16, 2024 12:26:10 PM




 Eric and Jason,

 I am writing about the issues discussed during our call last Friday, January 12, 2024.

 First, as I indicated during our call, Nielsen does not agree to your proposal to consolidate its three
 pending cases against TVision and to stay them. You proposed staying all three cases and trying the
 last case filed, presumably 1:23-cv-01346, first in early 2026. As I explained during the call, all three
 cases are at different parts of their lifecycle and consolidating them will necessitate moving the trial
 date scheduled for later this year in the 0057 case. We also do not agree with your assertion that the
 cases have significant factual overlap or that consolidating would advance judicial economy or lower
 the cost of proceeding. Indeed, consolidation, and your proposal in particular, would do nothing
 except allow TVision to put off a reckoning for its patent infringement.

 Second, we do not agree to a stay in the 1345 case (involving the ‘243 patent). That case has been
 pending for about 15 months and has progressed significantly. It is too late to request a stay.

 Third, regarding TVision’s proposal to ask ACRCloud for its source code and to allow the parties’
 experts to review and opine on that, Nielsen notes that fact discovery closed some time ago. It is too
 late to bring new documents into the case and to reopen expert reports. Moreover, we sought your
 cooperation to get source code from ACRCloud during fact discovery, but you would not agree to
 even ask, even though you represent both TVision and ACRCloud. TVision cannot change its mind
 after discovery has closed, causing us to incur unnecessary expense and delay.

 Finally, regarding Ms. Poppie’s disclosure in our supplemented initial disclosures, we are willing to
 allow TVision to depose her. We are working to get dates in the next few weeks. Ms. Poppie is
 located in the Chicago area. We can make our Chicago office available for the deposition, if you’d
 like.

 DOUGLAS LEWIS
 Kelley Drye & Warren LLP
 Tel: (312) 857-7073



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                                                                                                                      Ex. 10
